Case 21-12323-mdc            Doc 37      Filed 06/14/22 Entered 06/14/22 15:07:36                    Desc Main
                                         Document Page 1 of 1
                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Maria C. Rodriguez a/k/a Maria Alma a/k/a
Maria Alma-Rosa a/k/a Maria Rosa                                                     CHAPTER 13
       David F. Rodriguez
                              Debtor(s)

MTGLQ Investors, L.P.                                                             NO. 21-12323 MDC
                                  Movant
                vs.

Maria C. Rodriguez a/k/a Maria Alma a/k/a Maria Alma-                      11 U.S.C. Sections 362 and 1301
Rosa a/k/a Maria Rosa
David F. Rodriguez
                               Debtor(s)

Kenneth E. West Esq.
                                  Trustee

                                                    ORDER

         AND NOW, this 14th day of             June      2022 at Philadelphia, upon failure of Debtor(s) and the
 Trustee to file and Answer or otherwise plead, it is:
         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted and
 the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy Abuse Prevention and
 Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362, is modified with respect to the subject
 premises located at Apartment 7 Y 6 Piso 3 Edificio, Vega Alta, PR 00692 (“Property), so as to allow
 Movant, its successors or assignees, to proceed with its rights and remedies under the terms of the subject
 Mortgage and pursue its in rem State Court remedies including, but not limited to, taking the Property to
 Sheriff’s Sale, in addition to potentially pursuing other loss mitigation alternatives including, but not limited
 to, a loan modification, short sale or deed-in-lieu of foreclosure. Additionally, any purchaser of the Property
 at Sheriff's Sale (or purchaser's assignee) may take any legal action for enforcement of its right to possession
 of the Property.




                                                                                Magdeline D. Coleman
                                                                                Chief U.S. Bankruptcy Judge
